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UNITED STATES DISTRICT COURT
DISTRICT OF DELAWARE

Unit 31
844 N. King Street
U.S. Courthouse
Wilmington, Delaware 19801
(302) 573-6310

Chambers of
Colm F. Connolly
Chief Judge

 

December 2, 2022

VIA ELECTRONIC MAIL

Peter R. Marksteiner

Clerk of Court

United States Court of Appeals for the
Federal Circuit

717 Madison Place, NW, Suite 401
Washington, DC 20439

RE: In re: Nimitz Technologies LLC
Case No. 23-00103

Dear Mr. Marksteiner:

Chief Judge Connolly respectfully requests that the United States Court of Appeals for the
Federal Circuit take notice of the enclosed Memorandum that was issued in the following cases on
November 30, 2022: Nimitz Technologies LLC v. CNET Media, Inc., Civ. No. 21-1247, D.I. 32;
Nimitz Technologies LLC v. Buzzfeed, Inc., Civ. No, 21-1362, D.I. 26; Nimitz Technologies LLC
v. Imagine Learning, Inc., Civ. No. 21-1855, D.I. 27; Nimitz Technologies LLC v. Bloomberg L.P.,
Civ. No, 22-413, D.I. 23. A redacted copy of this letter (removing your email address) has been
docketed in these four cases.

Respectfully,

(ua M. Davis

Deputy Clerk
Chief Judge Colm F. Connolly
United States District Court
District of Delaware

/kmd

Enclosure
